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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JUAN JORDAN and CHERI UHRINEK,
individually and on behalf of all other
similarly situated,
                                                      CIVIL ACTION NO. 2:17-cv-05251-JP
               Plaintiffs,

       v.

MERIDIAN BANK, THOMAS
CAMPBELL and CHRISTOPHER ANNAS,

               Defendants.



                                               ORDER

       AND NOW, this seventeenth day of December, 2019, upon consideration of Plaintiffs’

Unopposed Motion For Final Collective And Class Action Settlement Approval, Plaintiffs’

Supplemental Brief In Support Of Proposed Incentive, Fee And Cost Payments, all supporting

documents and exhibits, the representations of counsel for both Parties during the December 17,

2019 final approval hearing and all related submissions and proceedings, it is hereby ORDERED as

follows:

       This Court hereby approves the terms of the proposed $990,000.00 settlement

commemorated in the Parties’ Settlement Agreement as fair, reasonable and adequate based on this

Court’s consideration of each of the relevant factors, including: the quality of the result reached in

this litigation, the speed and efficiency of this result, the total value of the lodestar accumulated by

Class Counsel in the litigation of these claims, the fact that no Class Member has objected to, or

sought exclusion from, the proposed settlement.
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       The Settlement Administrator shall promptly perform final calculations for the Class

member damage payments and make these payments as provided by the Settlement Agreement.

       This Court hereby approves payment of $15,000.00 in Enhancement Awards to Named

Plaintiffs Juan Jordan ($7,500.00) and Cheri Uhrinek ($7,500.00) as fair, reasonable and adequate

compensation for the services they provided and the risks they incurred during the course of this

litigation. The Settlement Administrator shall make these payments as provided by the Settlement

Agreement.

       This Court hereby approves the requested $346,500.00 attorneys’ fee, the proposed

$21,000.00 cost reimbursement to Class Counsel described in the Settlement Agreement and

Plaintiffs’ Supplemental Brief as fair, reasonable and adequate based on this Court’s consideration of

each of the relevant factors, including: the quality of the result reached in this litigation, the speed

and efficiency of this result, the total value of the lodestar accumulated by Class Counsel in the

litigation of these claims and the fact that no Class Member objected to, or sought exclusion from,

the proposed settlement. The Settlement Administrator shall make these payments as provided by

the Settlement Agreement.

       This Court hereby approves the requested $11,500.00 cost payment for the Settlement

Administrator and directs the Settlement Administrator to make this payment as provided in the

Settlement Agreement.

       Within sixty days of this Order, Plaintiffs’ Counsel shall file with the Court notice that the

settlement funds have been distributed per the Court’s Order.




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         Without affecting the finality of this Order, the Court retains jurisdiction for the purpose of

enabling the settling Parties to apply to this Court for such further orders or guidance as may be

necessary for the construction, modification, or enforcement of the Settlement Agreement or this

Order.



                                                        BY THE COURT:

                                                        /s/ John R. Padova

                                                        ____________________________
                                                        John R. Padova
                                                        United States Magistrate Judge




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